Case 8:17-cv-01474-JVS-DFM             Document 46   Filed 02/28/18   Page 1 of 15 Page ID
                                             #:650


  1   Mark A. Finkelstein (State Bar No. 173851)
      mafinkelstein@jonesday.com
  2   JONES DAY
      3161 Michelson Drive, Suite 800
  3   Irvine, California 92612.4408
      Telephone: +1.949.851.3939
  4   Facsimile: +1.949.553.7539
  5   Alexis Adian Smith (State Bar No. 274429)
      asmith@jonesday.com
  6   JONES DAY
      555 South Flower Street, Fiftieth Floor
  7   Los Angeles, CA 90071
      Telephone: +1.213.243.2653
  8   Facsimile: +1.213.243.2539
  9   Attorneys for Defendants and Counterclaimants
      Smashburger IP Holder LLC, and Smashburger
 10   Franchising LLC
 11                             UNITED STATES DISTRICT COURT
 12                            CENTRAL DISTRICT OF CALIFORNIA
 13                                       SOUTHERN DIVISION
 14
      IN-N-OUT BURGERS, a California                    Case No. 8:17-cv-01474-JLS-DFM
 15   corporation,
                                                        Assigned to Judge Josephine L.
 16                       Plaintiff,                    Staton
 17           v.                                        SMASHBURGER IP HOLDER
                                                        LLC AND SMASHBURGER
 18   SMASHBURGER IP HOLDER LLC,                        FRANCHISING LLC’S
      a Delaware limited liability company;             OPPOSITION TO IN-N-OUT
 19   and SMASHBURGER                                   BURGERS’ MOTION TO
      FRANCHISING LLC, a Delaware                       STRIKE
 20   limited liability company,
                                                        Hearing Date: March 23, 2018
 21                       Defendants.                   Time: 2:30 pm
                                                        Courtroom: 10A
 22   SMASHBURGER IP HOLDER LLC,
 23   and SMASHBURGER
      FRANCHISING LLC,
 24                    Counterclaimants,
 25           v.
 26   IN-N-OUT BURGERS,
 27                    Counterdefendant.
 28
                                                                      Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                                          Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM              Document 46            Filed 02/28/18         Page 2 of 15 Page ID
                                              #:651


  1                                          TABLE OF CONTENTS
  2
                                                                                                                    Page
  3
  4   I.      INTRODUCTION ........................................................................................... 1
  5   II.     LEGAL STANDARD ..................................................................................... 2
  6   III.    ARGUMENT .................................................................................................. 4
  7           A.       In-N-Out Was Given “Fair Notice” Of Smashburger’s Defense.......... 4
  8           B.       Smashburger Adequately Alleged Its Eighth Affirmative
  9                    Defense Under Twombly/Iqbal and Rule 9 ........................................... 4

 10           C.       In-N-Out’s Copyright Date Argument Is A Red Herring ..................... 8

 11           D.       Smashburger’s Eighth Affirmative Defense Is Relevant And Not
                       Unduly Prejudicial ................................................................................ 9
 12           E.       To The Extent This Court Finds The Pleading Insufficient,
 13                    Leave To Amend Should Be Granted ................................................. 10

 14   IV.     CONCLUSION ............................................................................................. 10

 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                                      Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                              -i-                         Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM                  Document 46             Filed 02/28/18           Page 3 of 15 Page ID
                                                  #:652


  1
                                              TABLE OF AUTHORITIES
  2
                                                                                                                              Page
  3
  4   CASES
  5   578539 B.C., Ltd. v. Kortz,
  6      No. CV 14-04375-MMM, 2014 WL 12572679 (C.D. Cal. Oct. 16,
  7      2014) .................................................................................................................... 10

  8   Adams v. Grand Slam Club/Ovis,
  9     No. 12-CV-2938-WJM-BNB, 2014 WL 103782 (D. Colo. Jan. 10,
        2014) ...................................................................................................................... 6
 10
 11   Areas USA SJC, LLC v. Mission San Jose Airport, LLC,
         No. C11-04487 HRL, 2012 WL 1831576 (N.D. Cal. May 18, 2012) .............. 2, 8
 12
 13   Ashcroft v. Iqbal,
         556 U.S. 662 (2009) .......................................................................................... 3, 7
 14
 15   Asian & Western Classics B.V. v. Selkow,
         2009 WL 3678263 (T.T.A.B. Oct. 22, 2009) ........................................................ 7
 16
 17   Baroness Small Estates, Inc. v. BJ’s Rests., Inc.,
 18     No. SACV 11-00468-JST (Ex), 2011 WL 3438873 (C.D. Cal. Aug.
        5, 2011) .............................................................................................................. 2, 3
 19
 20   Bell Atlantic Corp. v. Twombly,
         550 U.S. 544 (2007) .............................................................................................. 3
 21
 22   CTF Dev., Inc. v. Penta Hosp., LLC,
        No. C 09-02429 WHA, 2009 WL 3517617 (N.D. Cal. Oct. 26,
 23
        2009) .................................................................................................................. 4, 5
 24
      Desert European Motorcars, Ltd. v. Desert European Motorcars, Inc.,
 25
        No. EDCV 11-197 ........................................................................................... 7, 10
 26
      Gen. Car & Truck Leasing Sys. Inc. v. Gen. Rent-A-Car Inc.,
 27
        No. 88-6500-CIV, 1990 WL 359368 (S.D. Fla. July 11, 1990)............................ 7
 28
                                                                                             Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                                  -ii-                           Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM                  Document 46             Filed 02/28/18           Page 4 of 15 Page ID
                                                  #:653


  1   Mophie, Inc. v. ABM Wireless, Inc.,
  2     No. SACV 14-1422-JLS, 2015 WL 12791374 (C.D. Cal. May 19,
        2015) ...................................................................................................................... 7
  3
  4   Multimedia Patent Tr. v. Microsoft Corp.,
  5     525 F. Supp. 2d 1200 (S.D. Cal. 2007) ................................................................. 2

  6   Oracle Am., Inc. v. Micron Tech., Inc.,
  7     817 F. Supp. 2d 1128 (N.D. Cal. 2011)................................................................. 2

  8   Quoc Viet Foods, Inc. v. VV Foods, LLC,
  9     No. SACV 12-02165-CJC(DFMx), 2014 WL 12588281 (C.D. Cal.
        Mar. 4, 2014) ......................................................................................................... 6
 10
 11   Rodeo Realty, Inc. v. Santangelo,
        No. CV11-08372 RGK, 2012 WL 13012468 (C.D. Cal. Mar. 16,
 12
        2012) ............................................................................................................. passim
 13
      Roe v. City of San Diego,
 14
        289 F.R.D. 604 (S.D. Cal. 2013) ..................................................................... 3, 10
 15
 16   Rosales v. FitFlop USA, LLC,
        882 F. Supp. 2d 1168 (S.D. Cal. 2012) ................................................................. 2
 17
 18   Schutte & Koerting, Inc. v. Swett & Crawford,
         298 F. App’x 613 (9th Cir. 2008) .......................................................................... 3
 19
 20   Simmons v. Navajo Cty.,
         609 F.3d 1011 (9th Cir. 2010) ........................................................................... 2, 3
 21
 22   Southco, Inc. v. Penn Eng’g & Mfg. Corp.,
         768 F. Supp. 2d 715 (D. Del. 2011) ...................................................................... 6
 23
 24   Top Producer Sys., Inc. v. Software Scis.Sciences Ltd.,
        No. 97-0415-MA, 1997 WL 723049 (D. Or. July 21, 1997) ........................ 5, 6, 8
 25
 26
 27
 28
                                                                                             Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                                 - iii -                      Ntc of Motion and Mtn to Dismiss
Case 8:17-cv-01474-JVS-DFM                  Document 46              Filed 02/28/18           Page 5 of 15 Page ID
                                                  #:654


  1   OTHER AUTHORITIES
  2
      Rule 8 ...................................................................................................................... 3, 5
  3
      Rule 9 ................................................................................................................... 3-6, 8
  4
  5   Rule 12 .................................................................................................................... 2, 6
  6
  7
  8
  9
 10
 11
 12
 13
 14
 15
 16
 17
 18
 19
 20
 21
 22
 23
 24
 25
 26
 27
 28
                                                                                              Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                                  - iv -                       Ntc of Motion and Mtn to Dismiss
Case 8:17-cv-01474-JVS-DFM       Document 46      Filed 02/28/18   Page 6 of 15 Page ID
                                       #:655


  1                     MEMORANDUM OF POINTS AND AUTHORITIES
  2   I.      INTRODUCTION
  3           In-N-Out overreached in its First Amended Complaint. Among other things,
  4   In-N-Out alleges infringement of TRIPLE TRIPLE, QUAD QUAD, and 2 X 2
  5   (collectively, the “Abandoned Marks”), which appear to have been abandoned
  6   many years ago. Thus, Smashburger IP Holder LLC and Smashburger Franchising
  7   LLC (collectively, “Smashburger”) asserted various affirmative defenses and
  8   counterclaims based on In-N-Out’s abandonment and false certification of use of
  9   those marks.
 10           In-N-Out does not dispute that Smashburger has properly stated claims for
 11   abandonment. Instead, this motion only challenges Smashburger’s Eighth
 12   Affirmative Defense of Fraud on the USPTO.
 13           In-N-Out admits that an affirmative defense is sufficient if it gives plaintiff
 14   “fair notice of the defense.” Motion, at 4:14-15. And In-N-Out does not deny that
 15   it has such fair notice regarding Smashburger’s Eighth Affirmative Defense. Thus,
 16   by this motion, In-N-Out challenges the factual basis of the defense, arguing that
 17   Smashburger’s claim of fraud is “demonstrably false.” At the pleading stage,
 18   however, Smashburger need not prove its affirmative defense. See Dkt. No. 32, p.
 19   5 (“At the pleadings stage, [plaintiff] need not prove” the elements of its claim.).
 20   Indeed, In-N-Out’s arguments are more properly addressed at summary judgment.
 21           Finally, discovery relating to the fraud allegations overlaps with discovery
 22   that Smashburger seeks in connection with its affirmative defense of abandonment
 23   and counterclaims for cancellation due to abandonment, negating any claim of
 24   undue prejudice to In-N-Out.
 25           Because Smashburger has adequately pled its defense of fraud on the
 26   USPTO, In-N-Out’s Motion should be denied.
 27
 28
                                                                   Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                -1-                    Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM       Document 46      Filed 02/28/18    Page 7 of 15 Page ID
                                       #:656


  1   II.     LEGAL STANDARD
  2           Motions to strike are disfavored “because of the limited importance of
  3   pleading in federal practice, and because they are often used as a delaying tactic.”
  4   Rosales v. FitFlop USA, LLC, 882 F. Supp. 2d 1168, 1178–79 (S.D. Cal. 2012)
  5   (citation omitted). Accordingly, Rule 12(f) motions “should not be granted unless
  6   it is clear that the matter to be stricken could have no possible bearing on the
  7   subject matter of the litigation.” Baroness Small Estates, Inc. v. BJ’s Rests., Inc.,
  8   No. SACV 11-00468-JST (Ex), 2011 WL 3438873, at *5 (C.D. Cal. Aug. 5, 2011)
  9   (citation and quotation omitted); see also Rosales, 882 F. Supp. 2d at 1179. In
 10   considering a motion to strike, the court “must view the pleading[] in the light most
 11   favorable to the pleader.” Multimedia Patent Tr. v. Microsoft Corp., 525 F. Supp.
 12   2d 1200, 1211 (S.D. Cal. 2007). “A court must deny the motion to strike if there is
 13   any doubt whether the allegations in the pleadings might be relevant in the action.”
 14   Oracle Am., Inc. v. Micron Tech., Inc., 817 F. Supp. 2d 1128, 1132 (N.D. Cal.
 15   2011).
 16           “[A] motion to strike which alleges the legal insufficiency of an affirmative
 17   defense will not be granted unless it appears to a certainty that plaintiffs would
 18   succeed despite any state of the facts which could be proved in support of the
 19   defense.” Areas USA SJC, LLC v. Mission San Jose Airport, LLC, No. C11-04487
 20   HRL, 2012 WL 1831576, at *5 (N.D. Cal. May 18, 2012) (internal quotation marks
 21   and citations omitted).
 22           As In-N-Out admits, “an affirmative defense need only give plaintiff fair
 23   notice of the defense to be sufficiently pled.” Rodeo Realty, Inc. v. Santangelo, No.
 24   CV11-08372 RGK (AGRx), 2012 WL 13012468, at *4 (C.D. Cal. Mar. 16, 2012);
 25   see also Simmons v. Navajo Cty., 609 F.3d 1011, 1023 (9th Cir. 2010) (“The key to
 26   determining the sufficiency of pleading an affirmative defense is whether it gives
 27   plaintiff fair notice of the defense.”) (citation omitted).
 28           While In-N-Out also cites the Twombly/Iqbal standard, many cases have held
                                                                    Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                -2-                     Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM      Document 46     Filed 02/28/18   Page 8 of 15 Page ID
                                      #:657


  1   that affirmative defenses do not need to meet the factual plausibility pleading
  2   standard under Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v.
  3   Iqbal, 556 U.S. 662 (2009), which address only Rule 8(a). See Roe v. City of San
  4   Diego, 289 F.R.D. 604, 608-09 (S.D. Cal. 2013) (noting the split in authority and
  5   that a responding party need only “affirmatively state” its defenses under Rule 8(c),
  6   and declining to invoke the Twombly and Iqbal pleading standards to an affirmative
  7   defense). The Roe court was persuaded by the fact that the Ninth Circuit
  8   recognized the “fair notice” standard after Twombly and Iqbal. See Simmons, 609
  9   F.3d at 1023; Schutte & Koerting, Inc. v. Swett & Crawford, 298 F. App’x 613, 615
 10   (9th Cir. 2008). Accordingly, courts in this district have concluded that the
 11   Twombly/Iqbal pleading standard does not apply to affirmative defenses under
 12   Rules 8(b)-(c). See Rodeo Realty, 2012 WL 13012468, at *4 (collecting cases and
 13   refusing to apply the Twombly and Iqbal pleading standard to affirmative defenses
 14   under Rule 8(b) or 8(c)).1
 15           When this Court was faced with an argument by a plaintiff that Twombly and
 16   Iqbal applied to affirmative defenses, that argument was flatly rejected. Baroness
 17   Small Estates, 2011 WL 3438873, at *5-6 (Adopting the “fair notice” standard after
 18   finding that “[t]he Ninth Circuit, however, has not required a heightened pleading
 19   standard for affirmative defenses, and the Court declines to apply one here.”).
 20           As explained below, Smashburger has met its burden of pleading under the
 21   fair notice standard. But even if this Court were to apply the Twombly/Iqbal
 22   pleading standard, or even Rule 9(b), this motion still should be denied. “A
 23   pleading is sufficient under Rule 9(b) if it identifies the circumstances constituting
 24
              The Rodeo Realty court explained that Twombly and Iqbal apply to “Rule
              1
 25   8(a), which requires a pleading to contain ‘a short and plain statement of the claim
      showing that the pleader is entitled to relief.’” 2012 WL 13012468, at *4
 26   (emphasis in original) (quoting Fed. R. Civ. P. 8(a)). However, Rules 8(b) and 8(c)
      require “only that a party ‘state in short and plain terms its defenses to each claim
 27   asserted against it’” and that “a party ‘affirmatively state any avoidance or
      affirmative defense.’” Id. (quoting Fed. R. Civ. P. 8(b)-(c)). Neither Rule 8(b) nor
 28   8(c) require a party to show entitlement to relief like Rule 8(a). Id.
                                                                 Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                               -3-                   Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM         Document 46     Filed 02/28/18   Page 9 of 15 Page ID
                                         #:658


  1   fraud so that a defendant can prepare an adequate answer from the allegations.”
  2   CTF Dev., Inc. v. Penta Hosp., LLC, No. C 09-02429 WHA, 2009 WL 3517617, at
  3   *2 (N.D. Cal. Oct. 26, 2009) (citation omitted); see also Rodeo Realty, 2012 WL
  4   13012468, at *4 (“allegations of fraud must be specific enough to give [ ] notice of
  5   the particular misconduct which is alleged to constitute the fraud charged.”)
  6   (citation omitted).
  7   III.    ARGUMENT
  8           A.       In-N-Out Was Given “Fair Notice” Of Smashburger’s Defense.
  9           In-N-Out informs this Court that “[f]or a pleading of an affirmative defense
 10   to be sufficient, it must give plaintiff fair notice of the defense.” Motion, at 4:14-15
 11   (citing 578539 B.C., Ltd. v. Kortz, No. CV 14-04375-MMM (MANx), 2015 WL
 12   12670488, at *17 (C.D. Cal. Apr. 10, 2015), and CTF Dev., Inc., 2009 WL
 13   3517617, at *8). Here, there can be no question that In-N-Out was given such
 14   notice. In-N-Out clearly understands the allegations in Smashburger’s defense and
 15   is fully aware of the misconduct alleged to constitute the fraud on the USPTO.
 16   Indeed, In-N-Out even seeks judicial notice of the specific filings where it allegedly
 17   “falsely declared ongoing use” of its Abandoned Marks. See Dkt. No. 43-1, 8
 18   (“The Eighth Affirmative Defense refers to three trademark renewals submitted by
 19   In-N-Out to the USPTO in 2009”); Dkt. No. 44-1 to 44-3 (attaching the renewal
 20   applications for the Abandoned Marks).
 21           Because “fair notice” is the proper standard, and because In-N-Out was given
 22   fair notice of the defense, this motion should be denied.
 23           B.       Smashburger Adequately Alleged Its Eighth Affirmative Defense
 24                    Under Twombly/Iqbal and Rule 9.
 25           To the extent this Court applies the Twombly/Iqbal standard, or even Rule 9,
 26   this motion should still be denied.
 27           In the affirmative defense at issue, Smashburger alleges that:
 28                    Plaintiff falsely declared ongoing use to the Patent and
                                                                    Case No. 8:17-cv-01474-JLS-DFM
      NAI-1503458176
                                                  -4-                   Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM         Document 46 Filed 02/28/18       Page 10 of 15 Page ID
                                          #:659


   1                    Trademark Office with respect to at least some of its
                        trademarks. For instance and on information and belief,
   2                    in 2009, Plaintiff claimed to the United States Patent and
                        Trademark Office that it was using the TRIPLE TRIPLE,
   3                    QUAD QUAD, and 2 X 2 marks, but provided as
                        specimens of such use wrappers bearing dates from four
   4                    years earlier.
   5   Smashburger’s First Amended Answer, Affirmative Defenses, and Counterclaims
   6   (Dkt. No. 36, 13). This allegation “identifies the circumstances constituting fraud”
   7   and “gives notice of the particular misconduct which is alleged to constitute the
   8   fraud” sufficient to meet the pleading requirements of Rules 8 and 9(b). See CTF
   9   Dev., Inc., 2009 WL 3517617, at *3-6, *8 (finding allegations that applicant
 10    fraudulently filed a statement of use for goods and services that were not used with
 11    the mark to meet the pleading standards of Rules 8 and 9(b) for purposes of
 12    defendant’s affirmative defense of fraud on the USPTO and counterclaim for
 13    cancellation due to fraud); Rodeo Realty, 2012 WL 13012468, at *4 (finding that
 14    allegations that an applicant knew of the existence of and prior use of a mark, yet
 15    failed to disclose those uses to the USPTO were sufficient to meet the requirements
 16    of Rule 9(b) in order to defeat a motion to strike an affirmative defense of fraud on
 17    the USPTO).
 18            Indeed, Smashburger’s affirmative defense identifies the precise false
 19    representations at issue—the declarations of ongoing use in 2009. The defense also
 20    makes clear the who, what, when, where, why, and how of the fraud (who – the
 21    declarant for In-N-Out; what – the claim of use, when such marks were not being
 22    used; when – in 2009; why – to obtain renewals of the registrations; and how – in
 23    the 2009 renewal declarations). This is all that is necessary at this early stage of the
 24    case. See Top Producer Sys., Inc. v. Software Scis. Sciences Ltd., No. 97-0415-
 25    MA, 1997 WL 723049, at *3 (D. Or. July 21, 1997) (“Defendant … sufficiently
 26    plead [counterclaim of] fraud by identifying a specific document, the date it was
 27    filed with the Patent and Trademark Office, and the alleged misrepresentations,
 28    namely that the plaintiff failed to disclose that the term ‘producer’ had become
                                                                    Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                                  -5-                   Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM       Document 46 Filed 02/28/18      Page 11 of 15 Page ID
                                        #:660


   1   generic.”).
   2           Moreover, the materiality of such a false declaration of use is presumed for
   3   purposes of surviving a Rule 12 motion. Southco, Inc. v. Penn Eng’g & Mfg.
   4   Corp., 768 F. Supp. 2d 715, 724, 726 (D. Del. 2011) (borrowing this presumption
   5   from patent cases and denying motion to dismiss and strike counterclaim for
   6   cancellation of registration due to fraud on the USPTO). And it is of no
   7   consequence that Smashburger made its allegations on information and belief.
   8   Adams v. Grand Slam Club/Ovis, No. 12-CV-2938-WJM-BNB, 2014 WL 103782,
   9   at *5 (D. Colo. Jan. 10, 2014) (“Allegations of fraud may be based on information
 10    and belief when the facts in question are peculiarly within the opposing party’s
 11    knowledge and the complaint sets forth the factual basis for the [pleading party’s]
 12    belief.”) (citation omitted).
 13            In its motion, In-N-Out makes numerous arguments on the merits—claiming
 14    that “Defendants’ fraud assertions have no factual basis.” Motion, at 8:18-19. The
 15    issue of whether in fact In-N-Out’s statements to the USPTO in those renewal
 16    applications were fraudulent, however, is not one that needs to be proven by
 17    Smashburger at the pleading stage. See Top Producer Sys., Inc., 1997 WL 723049,
 18    at *3 (finding that a counterclaim of fraud was sufficiently plead under Rule 9(b)
 19    and the issue of whether the underlying representation was in fact false was not
 20    appropriate to decide on a motion to dismiss).
 21            Accordingly, the cases cited by In-N-Out are inapposite. Quoc Viet Foods,
 22    Inc. v. VV Foods, LLC, No. SACV 12-02165-CJC(DFMx), 2014 WL 12588281, at
 23    *2 (C.D. Cal. Mar. 4, 2014) involved a party who asserted a counterclaim for fraud
 24    on the USPTO, but failed to specify why the trademark registrant’s alleged
 25    misrepresentation regarding the translation of a mark was material to the USPTO
 26    and what about the statement was false. Such issues are not present here. In-N-
 27    Out’s statements in question involve declarations of use for purposes of trademark
 28    renewals that are material and the alleged falsity—the claim that the marks were in
                                                                  Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                                -6-                   Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM       Document 46 Filed 02/28/18        Page 12 of 15 Page ID
                                        #:661


   1   use when they were not in use—is apparent. See Southco, Inc., 768 F. Supp. 2d 715
   2   at 726 (stating “the submission of a false declaration [to the USPTO] is presumed to
   3   be material”); see also Gen. Car & Truck Leasing Sys. Inc. v. Gen. Rent-A-Car Inc.,
   4   No. 88-6500-CIV, 1990 WL 359368, at *3 (S.D. Fla. July 11, 1990) (knowingly
   5   false statements in application and maintenance applications that use extended to
   6   services involving aircraft and boats when the mark was never used with such
   7   services were material for purposes of cancellation due to fraud).
   8           In-N-Out’s reliance on Asian & Western Classics B.V. v. Selkow, 2009 WL
   9   3678263 (T.T.A.B. Oct. 22, 2009) is similarly misplaced. In that case, the
 10    Trademark Trial and Appeal Board discussed the required element of intent and
 11    that the standard for fraudulent misrepresentations is no longer that the registrant
 12    “knew or should have known” his statement was false. Asian & W. Classics B.V.,
 13    2009 WL 3678263, at *2. Here, Smashburger alleged the requisite intent by
 14    alleging that Plaintiff falsely declared ongoing use in its declaration for renewal and
 15    “[w]hen false facts are affirmatively written on a statement of use, it is difficult to
 16    conclude that it is not at least plausible, under the Iqbal standard, that such an act
 17    was done with the intent to deceive the USPTO into granting a trademark
 18    registration. Why else would such an act occur?” Mophie, Inc. v. ABM Wireless,
 19    Inc., No. SACV 14-1422-JLS (RNBx), 2015 WL 12791374, at *4 (C.D. Cal. May
 20    19, 2015) (citations omitted).
 21            Finally, Desert European Motorcars, Ltd. v. Desert European Motorcars,
 22    Inc., No. EDCV 11-197 RSWL, 2011 WL 3809933 (C.D. Cal. Aug. 25, 2011)
 23    involved an affirmative defense of fraud that alleged merely that defendant was
 24    “informed and believes and thereon alleges that the claims found within the FAC
 25    are barred by Plaintiff’s fraud,” without any mention of supporting facts or what
 26    conduct constituted the fraud. Id. at *7. Smashburger’s allegations here provide
 27    details sufficient to give In-N-Out the who, what, when, where, why and how of In-
 28    N-Out’s misconduct at issue, providing more than sufficient notice under Rule 9(b).
                                                                   Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                                -7-                    Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM        Document 46 Filed 02/28/18       Page 13 of 15 Page ID
                                         #:662


   1   See Rodeo Realty, 2012 WL 13012468, at *4.
   2           C.       In-N-Out’s Copyright Date Argument Is A Red Herring.
   3           In-N-Out’s lengthy argument regarding copyright law is of no consequence.
   4   First, In-N-Out’s argument is directed at the merits of Smashburger’s defense, not
   5   the sufficiency of the pleading. As explained above, Smashburger need not prove
   6   the merits of its affirmative defense at this stage. See, e.g., Top Producer Sys., Inc.,
   7   1997 WL 723049, at *3.
   8           In addition, Smashburger’s belief about In-N-Out’s fraudulent conduct is not
   9   solely based on a copyright date. The copyright dates in 2005, however, do imply
 10    that there were no new wrappers bearing the Abandoned Marks created in 2009,
 11    which supports the inference that the Abandoned Marks were no longer being used
 12    on those wrappers. And new additional evidence further suggests Smashburger’s
 13    defense could be successful. For instance, in its answer, In-N-Out admits that it
 14    changed is website in July 2017 to add TRIPLE TRIPLE and QUAD QUAD, which
 15    was done after Smashburger IP Holder filed counterclaims of abandonment of those
 16    marks in a separate TTAB proceeding. See Dkt. No. 45, at ¶¶ 28, 33. Such a
 17    change may indicate that In-N-Out was trying to manufacture new use last year,
 18    which would have been unnecessary if In-N-Out had been continually using those
 19    marks. While these issues will be explored in discovery, and cannot be resolved at
 20    the pleading stage, it is far from a certainty that there are no facts that could be
 21    proved to support Smashburger’s affirmative defense. See Areas USA SJC, 2012
 22    WL 1831576, at *5.
 23            The fact that In-N-Out used earlier copyrighted specimens in connection with
 24    its other trademark applications and/or renewals is also irrelevant. For instance,
 25    that In-N-Out submitted a specimen in connection with its 3 X 3 mark that appears
 26    to be the same specimen as that submitted with the TRIPLE TRIPLE application
 27    does not alter the basis of Smashburger’s defense with respect to TRIPLE TRIPLE.
 28    Smashburger believes that In-N-Out has used the 3 X 3 mark on its website
                                                                    Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                                 -8-                    Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM        Document 46 Filed 02/28/18      Page 14 of 15 Page ID
                                         #:663


   1   (although Smashburger does not concede that such use is enough to constitute use
   2   in interstate commerce for purposes of maintaining a registration). Just because
   3   Smashburger has not alleged fraud with respect to a renewal of the 3 X 3 mark has
   4   no bearing on its information and belief about In-N-Out’s use of the TRIPLE
   5   TRIPLE mark.2 Smashburger is informed and believes that the TRIPLE TRIPLE
   6   mark had not been used by In-N-Out for many years, until In-N-Out added the mark
   7   to its website on July 22, 2017 in response to Smashburger IP Holder LLC’s filing
   8   of a cancellation action with the Trademark Trial and Appeal Board. See
   9   Counterclaims, Dkt. No. 36, at ¶¶ 24-28.
 10            D.       Smashburger’s Eighth Affirmative Defense Is Relevant And Not
 11                     Unduly Prejudicial.
 12            There can be no doubt that Smashburger’s allegations of fraud on the USPTO
 13    are relevant to the action. In-N-Out asserts, among other things, the infringement
 14    of federally registered trademarks. Dkt. No. 15, ¶¶50-58. Whether In-N-Out’s
 15    registrations for the Abandoned Marks are valid is of critical importance in the
 16    action. Moreover, given Smashburger’s affirmative defense of abandonment and
 17    its counterclaims for cancellation of federal and state registrations for the
 18    Abandoned Marks, the fraud defense will not require the parties to engage in any
 19    significant additional discovery or expend time or resources that would not affect
 20    the outcome of the case.
 21            Furthermore, Smashburger’s defense is not a pretext for the discovery of
 22    unknown wrongs. Smashburger’s preliminary investigation has revealed that In-N-
 23    Out is asserting marks in this action that appear to have been abandoned and that
 24    In-N-Out has falsely certified to the USPTO that the Abandoned Marks were in use
 25    when they were not.
 26            It is ironic that In-N-Out claims harm and prejudice by an affirmative
 27
               In-N-Out claims that Smashburger does not dispute In-N-Out’s continuing
               2
 28    use of the 3 X 3 mark. Motion, at 8:26-9:1. Smashburger made no such admission.
                                                                   Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                                -9-                    Defs. Opp. to Motion to Strike
Case 8:17-cv-01474-JVS-DFM        Document 46 Filed 02/28/18      Page 15 of 15 Page ID
                                         #:664


   1   defense. Indeed, it is Smashburger who is being harmed by the assertion of
   2   Abandoned Marks in this action. Smashburger has every right to assert affirmative
   3   defenses to In-N-Out’s claims.
   4           E.       To The Extent This Court Finds The Pleading Insufficient, Leave
   5                    To Amend Should Be Granted.
   6           To the extent this Court finds that Smashburger’s Eighth Affirmative
   7   Defense should be stricken, Smashburger respectfully requests leave to amend its
   8   defense. “Unless it would prejudice the opposing party, courts freely grant leave to
   9   amend stricken pleadings.” Roe, 289 FRD at 608. See Desert European
 10    Motorcars, Ltd., 2011 WL 3809933, at *7 (granting leave to amend a stricken
 11    affirmative defense of fraud); see also 578539 B.C., Ltd. v. Kortz, No. CV 14-
 12    04375-MMM (MANx), 2014 WL 12572679, at *12 (C.D. Cal. Oct. 16, 2014)
 13    (granting leave to amend stricken affirmative defense of fraud on the USPTO).
 14    IV.     CONCLUSION
 15            Smashburger has provided In-N-Out more than fair notice of the conduct that
 16    is alleged to constitute the fraud on the USPTO in Smashburger’s Eighth
 17    Affirmative Defense. Furthermore, the defense is relevant and will not result in
 18    unwarranted discovery since the underlying facts overlap with those relevant to the
 19    affirmative defense of abandonment and the counterclaims for cancellation of In-N-
 20    Out’s federal and state registrations of the Abandoned Marks. Thus, In-N-Out is
 21    not prejudiced by Smashburger’s Eighth Affirmative Defense. Accordingly, this
 22    Court should deny In-N-Out’s motion.
 23            In the alternative, leave to amend should be granted.
 24    Dated: February 28, 2018                 JONES DAY
 25                                             By:
 26                                                 Mark A. Finkelstein
                                                Attorneys for Defendants and
 27                                             Counterclaimants SMASHBURGER IP
                                                HOLDER LLC, AND SMASHBURGER
 28                                             FRANCHISING LLC
                                                                  Case No. 8:17-cv-01474-JLS-DFM
       NAI-1503458176
                                               - 10 -                 Defs. Opp. to Motion to Strike
